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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT ()F ILLINOIS
EAST ST. LOUIS DIVISION

THOMAS BOLLINGER, )
Plaintiff, §
v. § Case No.
MEDICREDIT, INC., §
Defendant. §
NOTICE OF REMOVAL

 

Defendant Medicredit, lnc. (“Medicredit”) timely files this Notice of Removal pursuant
to 28 U.S.C. §§ 1331, l44l, and 1446, removing this action from the Circuit Court of St. Clair
County, lllinois, to the United States District Court for the Southern District of lllinois, and in
support of this Notice, states as folloWs:

l. On June 2, 2017, Plaintiff Thornas Bollinger (“Plaintiff”) filed a Complaint
against Medicredit (the “Complaint”) in the Circuit Court of St. Clair County, Illinois, Case
No. 17AR475 (the “State Court Action”). The Complaint contains claims alleging a violation of
the Fair Debt Collection Practices Act, l5 U.S.C. § 1692, et seq. (the “FDCPA”).

2. Pursuant to 28 U.S.C. § 1446(a), Medicredit attaches to this Notice a copy of all
pleadings, orders and other papers or exhibits of every kind currently on tile in the State Court
Action. _S_e_e Exhibit A, attached hereto.

3. Plaintiff served Medicredit With the summons in the State Court Action on
August 8, 2017, Accordingly, Medicredit timely files this Notice Within the 330-day limit
established by 28 U.S.C. § l446(b)(l). See, e.g., Murphv Brothers, Inc. v. Michetti Pipe
Stringing, Inc., 526 U.S. 344, 355 (1999) (noting that the removal time frame is triggered by

receipt of formal service, not receipt of complaint.).

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4. The United States District Court for the Southern District of Illinois has original
jurisdiction over this matter under 28 U.S.C. § 1331 because the claim alleging a violation of the
FDCPA implicates this Court’s federal question jurisdiction §§§ Ex. A, Complaint, generally.

5. Removal to the United States District Court for the Southern District of Illinois is
proper under 28 U.S.C. § l44l(a), Which provides that any civil action brought in a County
and/or State Court Where the District Courts of the United States have original jurisdiction is
removable to the district of the United States District Court embracing the place where such
action is pending.

6. Venue is proper in the East St. Louis Division of this Court because this action is
being removed from the Circuit Court for St. Clair County, Illinois, and the acts complained of in
Plaintift"s Complaint are alleged to have been directed at Plaintiff in St. Clair County, lllinois.
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7. In light of the foregoing, this Court has subject matter jurisdiction over this
action, and this case is properly removed to this Court.

8. Medicredit has filed a Notice of Filing Notice of Removal With the State Court
and, upon filing this Notice, Shall promptly provide Written notice of its Notice of Removal to all
adverse parties in the State Court Action.

WHEREFORE, Defendant Medicredit, lnc. gives notice that the above-entitled action is
removed and transferred from the Circuit Court of St. Clair County, State of lllinois, to the

United States District Court for the Southern District of Illinois.

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Respectfully submitted,
SPENCER FANE LLP

/s/ Scott J. Dickenson

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Attorneys for Defendant

CERTIFICATE OF SERVICE

The undersigned hereby certificates that on this 5th day of September, 2017, a copy of the
foregoing document Was electronically filed With the Clerk of the Court, to be served by the
Court’s electronic notification system upon all attorneys of record, and a hard copy of the
foregoing document Was mailed, postage prepaid, to the following:

Gregory Klote

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Chesterfield, MO 63017
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Attorney for Plaintiff

/s/ Scott J. Dickenson

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